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 3
     Attorney for defendant
 4   SCOTT PETERSON
 5

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 8
                          UNITED STATES DISTRICT COURT
 9
                         EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,            No.   10-CR-0299 WBS
12
                  Plaintiff,
13
          v.                              STIPULATION AND [PROPOSED] ORDER
14                                        TO CONTINUE J&S
     SCOTT PETERSON,
15
                  Defendant.
16

17        The defendant, Scott Peterson, through his undersigned

18   counsel and the United States, through its undersigned counsel,

19   hereby agree and request that judgment and sentencing, currently

20   set for Monday, November 18, 2013 at 9:30 am, be vacated and

21   continued until Monday, January 27, 2014 at 9:30 am.          USPO Lutke

22   is currently out of the office on maternity leave but counsel has

23   informed USPO Oestreicher.

24        A continuance is necessary to provide counsel time for

25   additional discussions with his client regarding the pre-sentence

26   report and preparation of objections.

27   // // //

28   // // //
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      Case 2:10-cr-00299-WBS Document 340 Filed 10/31/13 Page 2 of 3


 1        The parties also agreed and request that the pre-sentence
 2   report schedule be modified as follows:
 3        Judgment and Sentencing date:                 January 27, 2014
 4        Reply or statement of non-opposition:         January 20, 2014
 5        Motion for correction:                        January 13, 2014
 6        Final PSR:                                    January 6, 2014
 7        Counsel’s written objections
 8        to the PSR:                                   December 30, 2013
 9        I, William E. Bonham, the filing party, have received
10   authorization from AUSA Justin Lee to sign and submit this
11   stipulation and proposed order on his behalf.
12        Accordingly, the defense and the United States stipulate
13   that judgment and sentencing for defendant, Scott Peterson should
14   be continued until Monday, January 27, 2013 at 9:30 am.
15   Dated: October 29, 2013                 BENJAMIN B. WAGNER
                                             United States Attorney
16

17                                           By:/s/ WILLIAM BONHAM for
                                             JUSTIN LEE
18                                           Assistant U.S. Attorney

19
     Dated: October 29, 2013                 By:/s/ WILLIAM BONHAM for
20                                           WILLIAM BONHAM
                                             Counsel for defendant
21                                           Scott Peterson
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      Case 2:10-cr-00299-WBS Document 340 Filed 10/31/13 Page 3 of 3


 1                                     ORDER
 2        IT IS SO ORDERED.     Judgment and sentencing currently set for
 3   November 18, 2013 is vacated and continued to January 27, 2014.
 4   It is further ordered that the pre-sentenced report schedule is
 5   modified as follows:
 6
          Judgment and Sentencing date:                 January 27, 2014
 7
          Reply or statement of non-opposition:         January 20, 2014
 8
          Motion for correction:                        January 13, 2014
 9

10        Final PSR:                                    January 6, 2014
11        Counsel’s written objections
          to the PSR:                                   December 30, 2013
12
     Dated:   October 30, 2013
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